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 4
     Attorney for Defendant
 5   HONG BI ZENG
 6
 7
 8                             UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10
11                                          )
     UNITED STATES OF AMERICA,              )                Criminal No. 2:06-cr-0390 EJG
12                                          )
                Plaintiff,                  )                STIPULATION AND ORDER
13                                          )                TO CONTINUE FEBRUARY 23,
           v.                               )                2007 STATUS CONFERENCE
14                                          )                AND EXCLUDE TIME
     ZHI HUI XUE, et. al.,                  )
15                                          )
                                            )
16                                          )
                Defendants.                 )
17   _______________________________________)
18
            IT IS HEREBY STIPULATED by and between Assistant United States Attorney,
19
     Robert M. Twiss, counsel for the plaintiff, and below signed counsel for each of the
20
     defendants in the above mentioned case, that the status conference now scheduled for
21
     February 23, 2007 at 10:00 a.m.., is extended until March 23, 2007 at 10:00 a.m., or as soon
22
     thereafter as is convenient for the Court.
23
            This continuance is sought by the defense in order to permit further review of
24
     discovery, continuation of on-going investigation, and consultation with the defendants.
25
            No party objects to the requested continuance.
26
            IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act
27
     continue to be excluded from February 23, 2007 through March 23, 2007, pursuant to 18
28
     U.S.C. §3161(h)(8)(A) & (B)(ii) and (iv), Local Codes T-2 and T-4.
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 1            IT IS SO STIPULATED.
 2
     Dated:        02/15 /2007                 ________/s/_______________
 3                                             ROBERT M. TWISS
                                               Counsel for Plaintiff
 4
 5
     Dated:       02/15 /2007                  _________/s/ ______________
 6                                             JOHN M. RUNFOLA
                                               Attorney for HONG BI ZENG
 7
 8
     Dated:        02/15 /2007                 ________/s/________________
 9                                             DOUGLAS HORNGRAD
                                               Counsel for ZHI HUI XUE
10
11
     Dated:        02/15/2007                            /s/
12                                             DOUGLAS RAPPAPORT
                                               Counsel for JIA ZHOU
13
14
     Dated:        02/15/2007                            /s/
15                                             JEFFREY L. STANIELS
                                               Counsel for TERRY TONG
16
17                                     ORDER
18            IT IS SO ORDERED
19
     Dated: February 15, 2007                  /s/ Edward J. Garcia
20                                             HON. EDWARD J. GARCIA
                                               Senior United States District Court Judge
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     Stipulation and Order               -2-
